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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                        CENTRAL DIVISION at LEXINGTON



UNITED STATES OF AMERICA,                   )
                                            )
         Plaintiff,                         )
                                            )                Criminal Case No.
v.                                          )                   12-cr-65-JMH
                                            )
NICHOLAS COREY GARNER,                      )         MEMORANDUM OPINION & ORDER
                                            )
         Defendant.                         )

                                            ***

        This matter is yet again before the Court as a result of

Defendant Nicholas Corey Garner’s pro se request for relief.

This request is dated January 22, 2015, and is styled “Response

to Court’s Order DE # 569." 1              The Court received this document on

January 27, 2015.            Having carefully reviewed the papers, the

Court      considers   it    a    renewed           motion   to   discharge   Defendant

Garner’s appointed counsel and provide Garner with new counsel.

The Court will also address his request for self-representation.

           A. Motion to Discharge Counsel

        Garner again argues that his counsel of record, Attorney

Andrew      M.   Stephens,       has     provided       ineffective    assistance      of

counsel in this matter.            At length, he explains that he believes


1
  Curiously, Defendant Garner’s papers are dated January 22, 2015, and the
return address on the envelope reflects what the Court knows to be
Defendant’s address while detained, at the Grayson County Detention Center in
Leitchfield, Kentucky. However, the envelope was sent via certified mail on
January 22, 2015, from Atlanta, Georgia.

                                                1
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that     appointed    counsel       does       not    know       the     law     and    that     his

attorney enjoys hiding things from him.                           The Court is familiar

with the record in this matter and sees no reason to conclude

that Attorney Stephens does not “know the law” applicable in

this case, nor does the Court have any reason to believe that

Attorney Stephens is hiding things from his client.                                       Indeed,

Attorney     Stephens      represents           that      he     has        sent,      filed,    or

arranged to send in the future each and every item of which

Garner complains in his many filings.                        Since the Court can find

no   evidence      that   counsel        has    hidden       things         from      Garner,   the

Court     cannot    determine      what        amount      of    pleasure          that   counsel

would derive from it.

         Rather, the Court observes that each and every time there

is   a    significant     proceeding           before      the     Court,          Defendant     is

reminded     and,    thus,        reminds       the       Court     that         he    vehemently

disagrees with (1) the law applicable to this case and (2) his

counsel’s     understanding         of    the       law    and     the      conclusions         that

counsel draws and argues from the application of the law to the

facts presented in this matter.                     Notably, Garner insists that he

cannot be responsible for losses which occurred as the result of

activities      outside    of      the    United        States         or   as     a   result    of

activity     undertaken      by    others       within       the       United      States.       He

argues that any estimation of loss is inappropriate and that,

moreover, the Court cannot hold defendants responsible for any

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estimate other than that which the United states urged.                                   He

insists     that   he     can    only    be       held    responsible    for    the   money

transfers which he undertook to make directly.                            The Court has

already explained in its opinion of December 19, 2014 [DE 558]

why his arguments are unfounded.

      Garner’s disagreement with his counsel’s assessment of the

matter, his counsel’s actions before the Court, and the Court’s

decisions invariably takes the form of a request to discharge

counsel.      Each of the requests – including the most recent – are

untimely     and    would       interfere         with    the   prompt    and    efficient

administration      of     justice       if       granted   since   Garner’s      requests

always      fall   just     prior       to    significant       hearings       related    to

sentencing.        [See Jan. 22, 2015, “Response” (dated eleven days

prior to final sentencing hearing); DE 568 (dated January 1,

2015, one month prior to final sentencing hearing and between

hearing on amount of loss and final sentencing hearing); DE 445

(dated July 1, 2014, approximately three weeks prior to amount

of   loss    hearing      scheduled          on    July   21,   2014,    and    sentencing

hearing scheduled on July 24, 2014, both of which were later

continued); DE 436 (dated June 24, 2014, approximately one month

prior to amount of loss hearing scheduled on July 21, 2014, and

sentencing hearing scheduled on July 24, 2014, both of which

were later continued).



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       The Court balances that untimeliness and the potential for

interference        with     the    prompt     and    efficient       administration           of

justice with the nature and extent of the conflict between the

attorney and client and explores whether, for example, it is so

great       that    it    results      in     a     total    lack     of       communication

preventing an adequate defense.                      The Court concludes that it

does not and that Garner has not shown good cause, such as a

conflict of interest, a complete breakdown in communication, or

an irreconcilable conflict with his attorney which would warrant

substitution of counsel.               United States v. Iles, 906 F.2d 1122,

1130 (6th Cir. 1990) (“An indigent defendant has no right to

have    a    particular       attorney       represent       him   and     therefore         must

demonstrate ‘good cause’ to warrant substitution of counsel.”).

       From    Garner’s       January       22,    2015,     papers      and    all     of    the

others filed before, the Court understands that Garner and his

counsel disagree about the state of the law, the application of

the    law    to    the     facts    presented       in   this     case,    and    counsel’s

commitment to candor to the Court concerning the law applicable

to    this    matter.         As    before,       these     disagreements         are   not    a

sufficient         reason    to     permit    the    dismissal       of    counsel.           See

United States v. Marrero, 651 F.3d 453, 466 (6th Cir. 2011)

(holding      that       “defendant's        differences      of    opinions       with      his

attorney do not create a complete breakdown of communication

that compromises his defense”).                     His “‘dissatisfaction with the

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responses     he    got      from     his    lawyer,        not     with     the    lack    of

opportunity or his inability to talk to his lawyer or contact

his lawyer,’” does not establish a total lack of communication,

id. (quoting United States v. Saldivar–Trujillo, 380 F.3d 274,

278 (6th Cir. 2004)), nor does a lack of communication – or in

this Court’s mind, difficulty in communicating – resulting from

a defendant's refusal to cooperate with his attorney constitute

good cause for substituting counsel. Id. (citing United States

v. Vasquez, 560 F.3d 461, 468 (6th Cir. 2009)).

      “The    Sixth    Amendment        secures        to   a     defendant        who   faces

incarceration the right to counsel at all ‘critical stages’ of

the criminal process.”              Id. at 464 (quoting United States v.

Wade, 388 U.S. 218, 224 (1967)).                  “The right to counsel does not

guarantee that a criminal defendant will be represented by a

particular attorney.”           Id. (citing Caplin & Drysdale, Chartered

v. United States, 491 U.S. 617, 624 (1989)).                         In this instance,

the   Sixth   Amendment        does    not    guarantee           that    Garner     will   be

represented by an attorney who agrees with him, particularly

when Garner’s own take on the law is misguided at best.                              Counsel

has seen fit to honor his duty of candor to the Court, arguing

the facts and law as he finds them and as he must.                                  Attorney

Stephens      has     also     informed          the    Court        of     his     client’s

disagreement with the law and the application of the law to the

facts of this case             – even when counsel disagreed with his

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client’s assessment of the case.                    In other words, he has walked

the tightrope of duty to court and to duty to client that an

attorney must walk in every case.                     That balancing act has not

been an easy one when it comes to representing Defendant Garner. 2

        Garner believes his counsel is against him when, in fact,

the law and the facts are against him.                         At this point, the

inquiry into efficiency and the nature of his complaints about

his counsel come full circle and meet since it would “impede[]

the efficient administration of justice because his complaints

about his attorney’s performance [are] frivolous.”                       Marrero, 651

F.3d at 467 (quoting Saldivar–Trujillo, 380 F.3d at 278; citing

United States v. Pittman, 11 F. App’x 521, 526 (6th Cir. 2001)

(noting       that      defendant      has    “little     legitimate     interest     in

obtaining new counsel” when “the court [finds] that the dispute

[the defendant had] with his counsel was such as he would likely

have had with any counsel”)).

        Garner’s claims of error can be explored on appeal, but the

Court      sees    no    reason   to     conclude     that   Attorney    Stephens     is

providing Garner with effective assistance of counsel at this

time     or   to     provide   Garner        with   new   counsel.      His   right   to

2
 This is one of the reasons that Attorney Stephens is the third attorney
appointed to represent Garner in this matter. Garner even made efforts to
retain the services of a fourth attorney, Eric Deters, who was dismissed as
counsel because of an unwaivable conflict. Defendant has disagreed with each
of those appointed attorneys and, save for Attorney Deters (who never had an
opportunity to agree or disagree with his client before this Court before he
was discharged), challenged his counsel’s efforts to practice the case on his
behalf.

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counsel is respected by providing him with the counsel appointed

by the Court, Attorney Stephens.

           B. Motion to Proceed Pro Se

       Having          determined          to     its     satisfaction            that      Attorney

Stephens         has     provided          Garner        with    capable          and     effective

assistance        of     counsel      to        date,    the    Court    considers          Garner’s

request to proceed pro se:                       “As of this filing I don’t have a

lawyer like I said counsel will not play with my life no time

for    delays      I     can    represent          myself.”           [See    Jan.       22,    2015,

“Response” at p. 9.]                      Garner insists that he has a right to

effective        assistance          of    counsel,      and     he   insists        that      he   may

represent himself.               At the end of the day, Garner does have an

attorney,        so     the    Court       must     be    sure    that       he    is    making     an

unequivocal invocation of his right to self-representation since

his statement could be read to suggest that he will proceed pro

se    in   the    absence        of       effective      assistance      of       counsel.          See

United States v. Martin, 25 F.3d 293, 295 (6th Cir. 1994) (“To

assert the right of self-representation, a defendant must do so

unequivocally.”) (citing Hamilton v. Vasquez, 17 F.3d 1149 (9th

Cir. 1994); United States v. Jones, 938 F.2d 737, 742 (7th Cir.

1991); United States ex rel. Maldonado v. Denno, 348 F.2d 12, 15

(2d Cir. 1965)).

       Accordingly,            the    Court       will    permit      Defendant          Garner     to

assert      his          right        to         self-representation                clearly         and

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unequivocally at the beginning of the hearing set in this matter

on Monday, February 2, 2015, with the knowledge that the Court

considers Attorney Stephens’ representation to be effective in

spite of Garner’s many disagreements with it.                        If he clearly and

unequivocally        asserts    his     right     to     self-representation,            the

Court will then conduct a Faretta hearing to inquire into the

knowing     and   voluntary     nature     of    the     waiver      of    his   right    to

counsel.      United States v. Evans, 559 F. App’x 475, 480 (6th

Cir. 2014) (citing United States v. Cromer, 389 F.3d 662, 680

(6th Cir. 2004); see Faretta v. California, 422 U.S. 806 (1975).

The   Court    will    “ask    the    defendant        series   of    questions      drawn

from, or substantially similar to, the model inquiry set forth

in the Bench Book for United States District Judges.” Evans, 559

F. App’x at 480 (citing United States v. McBride, 362 F.3d 360,

366 (6th Cir. 2004)).           Finally, the Court will consider whether

Garner is competent to represent himself in proceedings before

this Court, including sentencing.                 See Indiana v. Edwards, 554

U.S. 164 (2008).

      Accordingly, IT IS ORDERED:

      (1)     That    the   Clerk     shall     file    Defendant         Nicholas   Corey

              Garner’s “Response to Court’s Order DE # 569” in the

              record of this matter; and




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    (2)   That Garner’s request for relief in his “Response to

          Court’s    Order    DE   #   569”     is   DENIED     IN   PART,   with

          respect to his request to discharge appointed counsel.

    (3)   That Garner’s request for relief in his “Response to

          Court’s Order DE # 569” remains pending in part with

          respect to his request for self-representation.

    (4)   That Attorney Andrew M. Stephens remains counsel of

          record at this time.

    (5)   That the matter remain scheduled for sentencing of the

          defendant on Monday, February 2, 2015, at the hour of

          1:00   P.M.   regardless         of   whether   the    defendant     is

          proceeding with Mr. Stephens as his attorney or pro

          se.

    (6)   A copy of this Order shall be served by certified mail

          upon the defendant at the address indicated on the

          motion at bar.

    This the 27th day of January, 2015.




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